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AK U.S, DIBTRICT COUN;
DEPUTY

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND

November 11, 2020

 

 

JONATHAN MANSON
6213 N Pascola Circle
Tucson, AZ,

COMPLAINT
Plaintiff,

Vv

MARYLAND BOARD OF
PHYSICIANS,

4201 Patterson Ave

Baltimore, MD 21215,

Defendant Civil Action No.: 7) qe 0 CV53 dj is

 

 

Plaintiff Jonathan Manson (referred to throughout the complaint as JM) states,

alleges, and claims as causes of action against Defendant as follows:
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PRELIMINARY STATEMENT

1. This action seeks (1) equitable relief from the unlawful policies, practices, and
actions of Defendant Maryland Board of Physicians (2) a declaratory judgment, for
actions which have violated and continue to violate Plaintiff’s rights pursuant to Title II
of the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12131 et seq.
(2002), and Section 504 of the Rehabilitation Act (“Rehabilitation Act’), 29 U.S.C. §
794 et seg (2011) (3) injunctive relief requiring Defendant to correct its violations of
Plaintiff’s federal rights, prohibiting Defendant from continuing its current actions in
violation of the ADA and Rehabilitation Act, and from engaging in similar conduct in
the future, and (4) fees and court costs pursuant to 42 U.S.C. § 12205 (2010) and 29
U.S.C. § 794(a), and under 42 U.S.C. § 1988.

2. Statement from the ADA Compliance Manual: Js a State agency immune from
suit under the ADA? No. A State agency such as the Maryland Board of Physicians is

not immune from an action in Federal court for violations of the ADA. !

 

+ https://www.ada.gov/taman2.html#II-4.3200
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JURISDICTION AND VENUE

1. This Court is vested with original jurisdiction of these claims pursuant to
28 U.S.C. §1331 (2011), §2201 (2015).

2. This Court has jurisdiction to hear and decide Plaintiff’s ADA and
Rehabilitation Act claims pursuant to 42 U.S.C. §12188 (2015),§ 12189 (2008), and 29
U.S.C. § 794(a), as the Plaintiff’s claims arise under and are based upon violations of
Title II of the ADA, 42 U.S.C. §12182, et seg. (2010) and Rehabilitation Act, 29 U.S.C.
§ 794 et seq., and 42 USC 2000(e).

3. This court has jurisdiction to grant declaratory relief in this action pursuant
to 28 U.S.C. § 2201.

4. Venue for this action is proper in the United States District Court for the
District of Maryland pursuant to 28 U.S.C. §§ 100 and §1391(b)-(c) (2015) because all
conduct complained of herein occurred in Baltimore, Maryland, and the subject public
entity and services immediately at issue are located in Baltimore. The Defendant to

this action also has offices and conducts official duties in the city of Baltimore.
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PARTIES

1. Plaintiff JM is and was at all times alleged herein a citizen and resident of
the State of Arizona. JM is a qualified person with a disability as defined by the ADA
and the Rehabilitation Act.

2. Defendant Maryland Board of Physicians is a public agency which is a
subdivision of the Department of Health, providing health related services to
individuals in the State of Maryland. It is a public entity subject to the ADA and a
recipient of federal funds subject to the Rehabilitation Act.

3. Atall relevant times, Defendant was, is and will be acting under color of

state law, custom and usage, and was, and is a state actor.
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OPERATIVE FACTS?

1. JM is a 62-year old individual with Autism Spectrum Disorder (ASD),
formerly known as Asperger’s Syndrome, which is a disability as defined by the ADA
and the Rehabilitation Act, described in JM as permanent and incurable. Exhibit 1.

2. Plaintiff JM was never a resident, employee, trainee, or physician in
Maryland, or physician in any other state. JM has also been homeless multiple times
after 1998, unemployed for multiple months and years at a time’, and filed for Chapter
7 bankruptcy in federal court in 2003.

3. Purpose of this filing. in brief: The Maryland Board of Physicians, formerly
known as the BPQA (the Board) issued a medical license denial for Plaintiff in 1998,
described in detail on page 7. The license denial was reported nationally to the
American Medical Association (AMA), Department of Health and Human Services
(HHS), all JM’s medical training programs, national background check companies,
Verisys (a national nonmedical and medical licensure data bank), the FACIS (Fraud and
Control Information System) III, and the FSMB (Federation of State Medical Boards).
The Board has a stated policy that it supports the Americans with Disabilities
Act.* When JM made an ADA Title II reasonable accommodation request in good

faith to the Board and Board Counsel, to remove such reports after 21 years

 

* Operative facts are not another attempt at a licensure appeal, though the Board will insist it is. The
operative facts are provided to explain the reasoning for the ADA Title II accommodation request.
. . B . P & . q .
> Plaintiff will supply a social security statement or other related documents at discovery if needed

* https://www.mbp.state.md.us/forms/dr_initial.pdf
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because along with autism, these reports are interfering with many opportunities
to be employed in professions requiring licensure, [page 12], no response was ever
received. The Board is required to provide a response as to why it is an undue
burden to accommodate Plaintiff, or why Board policies or procedures cannot be
modified to accommodate Plaintiff. The ADA Title II accommodation request
emphasizing ASD/autism is a federally protected right for those with a bonafide
disability®.

4. Why was the accommodation request made, more specifically? In order
to manage his Autism Spectrum Disorder and be self-supporting, JM, through the
ADA accommodation, seeks to be gainfully employed in a nonmedical field requiring
licensure, by having the Board remove its barriers to nonmedical licensure and
employment. Such barriers have existed for 22 years.

5. Plaintiff graduate educational history: JM attended/completed: Whittier
Law School, JD; St. Thomas University, MS; Creighton University School of
Medicine, MD. He is, in every way in 2020, a qualified person with a disability and is
able to successfully and can safely function, if given the opportunity to be employed in

a non-health care position, one which is outside the police powers and purvue of the

Board.

6. Plaintiff medical training history, 1991-1996: JM participated in six

medical training programs, though had difficulty adjusting socially at the first three

 

° https://www.ada.gov/taman2.html#II-4.2000
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programs due to autism, with resulting discontinuous medical training. The first
program was in Danbury Connecticut, where JM had to resign after 5 months due to
Asperger’s syndrome affecting his performance. The resignation states “...I resign for
medical reasons...no conduct on my part...warrants such report...” and is signed
by the Vice President of Human Resources. Exhibit 2. The second training program in
pathology was a termination after 2 months, again due to Asperger’s. In the third
program, after 1-month, JM was placed on 5 months paid leave and left voluntarily to
enter one year of continuous training. Exhibit 3. JM then passed the final licensing
exam, and took part in an Anesthesiology program, completing 5 months but left
voluntarily due to changes in the practice of Anesthesiology, to return to primary care.
Exhibit 4. The final program occurred in 1995-1996, when JM completed 9 months of a
12-month program. Exhibit 5. In 1997, JM completed a Master’s degree in
Management at St. Thomas University of Miami, Florida.

7. The Maryland BPQA, Autism, and federal protected rights:

In 1997, JM applied for medical licensure in Maryland, and was issued a
non-disciplinary, non-permanent initial denial, which claimed that JM intentionally left
off incomplete first year training in different specialties. The application responses
that did not meet Board standards were provided to questions that were vague and
ambiguous, and never again used by the Board.® Additionally, a medical

explanation of how the questions were interpreted due to autism, or how autism related

 

° Plaintiff located/copied Board medical license applications from 2001, 2009, and 2018-to be provided at
26f conference if needed

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to JM’s performance in the training programs, was never allowed prior to the initial
denial.

JM attempted to arrange a hearing to challenge the initial denial. An evidentiary
hearing was noticed by the Board seven times, and JM was summoned to a hearing as
well, but the Board still denied any right to appear. Through denying an evidentiary
hearing, JM lost any opportunity to discuss Asperger’s/autism or call an expert witness
to explain the mens rea of those with autism, and apply such explanations to JM. The
Board explained that a planned disability hearing request is “wastage” and continued to
accuse JM of fraudulently and deceptively concealing application information and
providing willful misrepresentations.

JM was finally given 15 minutes to speak in September 1998, where no new
issues could be raised. JM could only note Supreme Court cases against using
summary judgments’ for malintent cases, background on the issue, and social
interaction issues in the training programs without being allowed to raise autism or
medical issues. The Board continued to ignore medical/Asperger’s/autism
explanations, and emphasized issues of malintent and fraud, insisting there were no

genuine issues of material fact, including disability issues. Exhibit 7.

 

7 In addition, the Supreme Court has cautioned that “summary procedures should be used sparingly .. .
where motive and intent play lead roles . . . It is only when witnesses are present and subject to cross-examination
that their credibility and the weight to be given their testimony can be appraised.” Pollar v. Columbia Broadcasting
Sys., Inc., 368 U.S. 464, 473, 82 S.Ct. 486, 491 (1962)

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8. Autism Spectrum Disorder as it relates to Mens Rea

Those with Asperger’s/Autism Spectrum Disorder (ASD) are not usually
dishonest by nature. What appears to be dishonesty is usually due to a
misunderstanding or interpretative analysis defect, not intentional misrepresentation or
civil fraud. “..the court must consider the unique factors that affect the ASD defendant
and whether those factors amounted to an impairment or disability impacting
culpability.”* Plaintiff realizes that civil fraud is not a criminal charge in Maryland.
However, out-of-state jurisdictions and many employers seeing the word fraud or
fraudulent associate it with criminal conduct, especially when associated with a
permanent licensure denial. Employers will also rarely hire an applicant accused of
such conduct’; of those with autism and prior conduct issues, nearly none" are hired.

A mens rea analysis for those afflicted with ASD (as noted above was formerly
known as Asperger’s syndrome) is also critical in either administrative proceedings or
court cases. To demonstrate, in the following case: in State v. Burr, 2013 N.J. Super.
Unpub. LEXIS 1130, at *1 (N.J. Super. Ct. App. Div. May 13, 2013), defendant was
charged with second-degree aggravated assault and second-degree endangering the
welfare of a child. He was convicted of second-degree aggravated assault and
third-degree endangering a minor (State v. Burr, 2008). On appeal, the New Jersey

Superior Court reversed the decision and remanded the case for a new trial on the basis

 

 

10 bitps: fink. springer.com/article/10.1007/s40489-014-0041-6
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that the trial court erred when it excluded defendant’s request to present expert
testimony regarding his diagnosis with Asperger’s Disorder (State v. Burr, 2013).
Though the aforementioned case is criminal in nature, the mens rea analysis conducted
is therefore critical to understanding intent and state of mind of those afflicted with
ASD.

9. The Permanent Licensure Denial distinction by the Board

The information on the Plaintiff medical licensure denial including an
accusation of fraudulently and deceptively attempting to obtain a license was reported
as a permanent denial-which never occurred-nationally to the National Practitioner
Data Bank, American Medical Association, US Department of Health and Human
Services, Federation for State Medical Boards, and in 1998 to at least two background
check companies, Precise Hire and Exact Background Checks, and to Verisys and
FACIS III (licensing Board background check resources). Exhibit 7. It is negligent and
may have been intentional’ to list a permanent denial nationally to at least ten agencies
when it never occurred. A permanent denial would mean a heinous act or act of
moral turpitude was committed to ban re-application for licensure lifelong such as

serious felony, pedophilia, a capital crime, or permanent and malicious harm to a

 

" Assertion is consistent with the fact that the Board would not allow an evidentiary hearing in 1998, no
Plaintiff evidence was ever considered relevant, material or to have any merit; Plaintiff in 1998, 2001 and 2011
requested removal of the permanent denial and was denied; The Board attempted to implement a Medicare exclusion
and debarment for Plaintiff in 1999 as well by contacting HHS-HHS would not implement despite the Board’s
attempts to punish Plaintiff; The Board contacted the AMA so that Plaintiff could no longer be a member of the
AMA; The Board sent the Final Order to every one of Plaintiff’s training program so he could never obtain a
reference from such training programs. The above occurred despite the fact that the medical licensure application
questions upon which the Board decision was made were vague and ambiguous, and were all removed from
Maryland in 1999, and have never again been used on any medical licensure applications.

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patient. The permanent denial ruling remained in place for 21 years and still exists
at the background check companies, Verisys, and FACIS JI. The Board cannot act in
an ad hoc manner, through sending a permanent denial notification nationally to
multiple authorities when it never occurred, in order to inflict unlimited suffering on an
autistic applicant.

10. The Unknown Gender Board entry following the licensing denial

Plaintiff’s gender was also assigned by the Board nationally as “unknown”
in 1998, following the licensing denial, and remained on the NPDB for 21 years
(Exhibit 7). Plaintiff has always been male. The term “unknown gender” assigned by
the Board is interpreted most often in one of the following categories: non-binary,
along with agender, bigender.'?

Plaintiff has also never self-identified as anything but male. The Board
cannot invent gender distinctions of its own choosing for Plaintiff under federal law. It
is negligent to list an unknown gender when the Board is aware of Plaintiff’s gender for
the entire time frame of 21 years, and it also violates 42 USC §2000(e), and Title VII of
the Civil Rights Act of 1964, because Plaintiff never self-identified as anything but
male, the Board was aware he was male, yet listed unknown gender anyway.!? The ten
sources to which the Board sent this notification in 1998 use this notification in

employment decisions, which includes refusing applicants due to an unknown gender

 

' https://www.healthline.com/health/different-genders

' Bostock v. Clayton County (2020) The Court held that Title VII of the Civil Rights Act of 1964 forbids
employment discrimination based on sexual orientation and gender identity. This ruling clearly states that sexual
orientation and gender identity discrimination are sex discrimination for the purpose of the Act, and are therefore
illegal under federal law.

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distinction, so it is discriminatory to identify an autistic individual as an unknown
gender for 21 years if he/she wishes to be classified as male or female and nothing else.

11. Autism and Homelessness: At the time of dissemination of licensure
information in 1998, there were 2.4 million websites", as opposed to 2 billion
currently'’, and the impact on employment and other positions could not be forseen in
1998. JM had $250 in the bank in 1999, and was homeless with ASD, and had no
opportunity to travel back to Maryland to appeal the licensing decision. No ADA
issues or medical or disability reasons were considered in the initial licensure analysis
by the Board, because all information provided by Plaintiff was considered irrelevant,
immaterial, and without merit.

In addition, as it has done from the time of the application filing until the
present, including the accommodation request, the Board would also have opposed
every word of an appeal by Plaintiff as lacking merit, or as irrelevant and immaterial,
including any medical or disability information presented. In addition, a Board cannot
cite an appeal as the only means of resolving disability matters, especially when the
original proceeding required an expert witness to discuss the mens rea of autism, and
the fact that new issues cannot be raised on appeal.

12. Adhering to the Supremacy Clause:

Due to the Supremacy Clause, the Board cannot excuse discounting and

deeming an accommodation request as being irrelevant, immaterial and without merit.

 

'* https://obrienmedia.co.uk/blog/1991-to-2019-how-many-websites-are-there-now

IS https://hostingtribunal.com/blog/how-many-websites/#gref
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The President of the United States signed Title II ADA into law on July 26, 1990, after
being passed by nearly the entire US Congress, 377-28 in the House, and 76-8 in the
Senate which allowed for accommodation requests at all state agencies for those with
bonafide disabilities.'° The entire point of the ADA was to overcome disability
inequalities among US citizens with autism and other conditions by allowing for
federally protected rights. It was not to be ignored, deemed irrelevant, and
lacking merit for certain applicants that the Board considers to be in need of
punishment, or whom the Board considers to be bothersome, a nuisance, or a
non-person not worthy of any consideration for an accommodation. Title II ADA
and accommodation requests also overrule state agency preferences as well
through the Supremacy Clause, unless the agency can state why it is an undue
burden to grant the accommodation request. Page 22 infra.

13. The Board Order, USAF, and Bar Admission

 

JM continued to seek employment positions after the license denial, but received
multiple denials, the first by the United States Air Force (USAF)-noting the
permanent denial that never occurred. JM then attended and graduated from
Whittier Law School, finishing 61/167 in the law school class, passed the New Mexico
bar exam with essay scores in the top 5% of bar examinees, but was denied bar
admission in 2003 due to the 1998 Board order. Upon reapplication to the New Mexico

Bar in 2004, despite acceptance by the New Mexico Supreme Court of an explanation

 

16 https://www.govtrack.us/congress/votes/101-1990/h228
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that autism caused the issues raised in the 1998 Board license denial, and a
determination that the events were not related to poor character or malintent and instead
to autism, admission was still not granted due to reticence and reaction to the 1998
Board Order. Exhibit 1. The 1998 Board order therefore interfered with two attempts
at bar admission. The Board was made aware of this ruling, describing Asperger’s
syndrome as a permanent and incurable disorder, and discounted it completely, along
with the 2020 accommodation request described in paragraph 13.

14. JM could only work as a substitute teacher in AZ until 2004, because Verisys
and online background checks were not performed for teachers in AZ and other states
until 2004. Whenever a background check has been run on Verisys or FACIS III after
2004, JM is denied the opportunity to work in substitute teaching in any state. JM
obtained limited work as a researcher, but when applying during and after this position,
background checks have been performed by multiple companies revealing the
Maryland order, preventing JM from being hired to research positions and those
requiring licensure.

15. 2019 Board contact by Plaintiff and Why the statute of limitations does
not apply in this case: The Board was again contacted in 2019 to remove the
permanent denial and unknown gender notifications which had existed for 21 years. As
noted above, a permanent denial never occurred in 1998 though reported by the Board
for 21 years on the National Practitioner’s Data Bank (NPDB) report and externally,

and the Plaintiff’s gender as well was never in question or controversy. The permanent

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denial and unknown gender were finally removed after 21 years, but only from the
NPDB report; in exchange for removing the permanent denial and inserting the male
gender notification, the narrative was derogatively changed by the Board on
September 3, 2019, to now reflect JM as one who has poor character, along with
committing additional heinous acts, even 21 years after the original Maryland Board
denial, and the Board aware that JM has a medical condition that affects his social
skills and functioning. Exhibit 7.

16. Given that in nearly every opportunity sought, the Board licensing Order of
1998 appears during the background check process, for example, when a teaching
license or research position is sought, the Board Order after 22 years is preventing an
autistic sufferer from having numerous opportunities at gainful employment in multiple
fields.

17. As stated supra, the Board states on its website that it “supports” the
Americans with Disabilities Act. The term “support” does not mean the same as an
intent to follow federal law, and is associated with the word guideline vs the law.!”
Words associated with guidelines are: support, encourage, enhance, partner with,
recommend, grow, develop, cultivate, foster; while words associated with adhering to
ADA Title II are shall, must be, requires or required, and obligatory."®

JM wrote two requests in good faith, to two different individuals on the Board

staff, for a reasonable ADA accommodation request-a statutory protected right under

 

'7 https://www.tempe.gov/home/showdocument?id=41925
18 Ibid ;

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Title Il! ADA" and Section 504 of the Rehabilitation Act on February 24, 2020. The
request was to withdraw the NPDB report, and its descriptive reports from Verisys
(FACIS IIT), which is a licensure background check service used for teaching and other
fields requiring licensure. Accompanying the written request was a ruling from the
NM Supreme court verifying that JM has a permanent, incurable disorder of Asperger’s
syndrome. A copy was sent both to the Board and the Board Counsel, Noreen M.
Rubin, both on February 24, 2020. Exhibit 8. Though receipt was acknowledged,
Exhibit 9, no response was ever received. The Board failed to address the issue of
alternate accommodations, why an undue burden would be posed, or why a minimal
modification of policies, practices and procedures could not take place. DOJ was then
contacted concerning the Title IIT ADA matter above and issued a letter indicating it
could not take any further action, but that I may pursue litigation. See Exhibit 10.

18. Due to Defendant’s ongoing refusals to respond to an accommodation
request or accommodate JM’s disability and medical needs, he has been denied his
right to be employed as a teacher, in law, and in research positions which perform
selective background checks which reveal the Board Order from 1998.

19. As a result of Defendant’s conduct and policies, JM has suffered damages,

including, but not limited to, loss of multiple employment opportunities and severe

emotional distress and psychological injury.

 

1° https://webapps.dol.gov/elaws/odep/glossary.aspx?Glossary_Word=Reasonable

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20. Unless and until Defendant relents and complies with federal disability
statutes by granting the requested accommodation, JM will not be allowed to work in
teaching, law or other selective research positions which perform FACIS III and
Verisys background checks. Such extensive background checks were not foreseeable in
1998 when a miniscule percentage of the information present now was available online.

CAUSES OF ACTION

1. Plaintiff JM repeats and re-alleges each and every allegation contained in
the foregoing paragraphs and incorporates the same herein by reference.

2. JM brings this action under Title II of the ADA, 42 U.S.C. §12131, et seq.

(2002); and the Rehabilitation Act 29 U.S.C. § 794, et seg (2011), including the
doctrine of third party interference.

3. “[A]ny department agency, special purpose district, or other instrumentality
of a State or States or local government” are Public Entities under the ADA.

Td.§ 12131(1)(B).
4. Under the Rehabilitation Act, “a licensing agency” is a covered “program or
activity,” if it receives Federal funds. 29 U.S.C. § 794(b)(2)(B).

5. Title II of the ADA prohibits, inter alia, discrimination on the basis of
disability
by any public entity. See 42 U.S.C. § 12132 (2010). Public entities, in order to avoid
discrimination, must “make reasonable modifications in policies, practices, or

procedures, when the modifications are necessary to avoid discrimination on the basis

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of disability, unless the public entity can demonstrate that making the modifications
would fundamentally alter the nature of the service, program, or activity.” 28 C.F.R. §
35.130(b)(7)(G) (2008). In addition, “[n]o qualified individual with a disability shall, on
the basis of disability, be excluded from participation in or be denied the benefits of the
services, programs, or activities of a public entity, or be subjected to discrimination by
any public entity.” /d. at § 35.130(a). Finally, public entities must “administer services,
programs, and activities in the most integrated setting appropriate to the needs of
qualified individuals with disabilities.” /d. at §35.130(d).

6. The Rehabilitation Act prohibits discrimination on the basis of disability by
any covered program or activity receiving financial assistance from the Federal
government. 29 U.S.C. § 794(a). Discrimination under the Rehabilitation Act includes
a covered entity, in providing an “aid, benefit, or service,” denying a qualified
individual with a disability ‘the opportunity to participate in or benefit from the aid,
benefit or service.” 34 C.F.R. § 104.4(b)(1)(i) (2012). Covered entities also must not
provide those aids, benefits, or services to qualified individuals with disabilities in a
manner that is not equal to or as effective as that provided to others. Id. at §§
104.4(b)(1)(ii)-(iii).

7. The Doctrine of third party interference is as follows: 42 U.S.C. § 12203(b)
and 42 U.S.C. § 12203(c): It shall be unlawful to coerce, intimidate, threaten, or
interfere with any individual in the exercise or enjoyment of, or on account of his or her

having exercised or enjoyed, or on account of his or her having aided or encouraged

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any other individual in the exercise or enjoyment of, any right granted or protected by
this chapter. In announcing the standard for establishing an ADA interference claim
(which is the same under Section 504 of the Rehabilitation Act, the law at issue in
Frakes’), the Seventh Circuit borrowed from its standard for interference claims
pursuant to the Fair Housing Act ("FHA"), holding that: [A] plaintiff alleging an ADA
interference claim must demonstrate that: (1) he/she engaged in activity statutorily
protected by the ADA; (2) he/she was engaged in, or aided or encouraged others in, the
exercise or enjoyment of ADA protected rights; (3) the defendant(s) coerced,
threatened, intimidated, or interfered on account of his or her protected activity; and (4)
the defendant(s) were motivated by an intent to discriminate.

8. As described, supra, Defendant denied JM access to multiple employment
fields despite a detailed description and proof of his disability through failing to
remove its licensing Order findings from Verisys and the NPDB after 22 years, when
there was failure to acknowledge the bonafide disability, and failure to acknowledge a
reasonable accommodation request made in good faith. Defendant has also failed to
modify its policies and procedures to avoid this discrimination against JM.

9. As Defendant refused to modify its policies for JM and denied him full and
equal access to multiple employment fields based solely on his disability of ASD,
(which accounts for past perceived conduct and relationship issues), by removing the

Verisys, and/or NPDB reports which have prevented him from being employed in

 

*° U.S. Court of Appeals for the Seventh Circuit in Frakes v. Peoria School District No. 150, 872 F.3d 545
(7 Cir. Sept. 26, 2017)

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multiple fields for 22 years, they have violated Title II of the ADA and the
Rehabilitation Act.

10. JM, despite his ASD, as stated above, is completely able to be employed in
multiple fields should the Board Order not be present nationally. Defendant’s denial of
access to multiple employment fields and failure to accommodate, solely on the basis
of JM’s Autism constitutes intentional disability-based discrimination.

11. Defendant’s conduct, described above, was intentional and taken in reckless
disregard of the rights afforded JM under the ADA and Rehabilitation Act.

Count One
(Failure to Modify Policies, Practices, or Procedures in Violation of ADA Title Il)

1. Plaintiff JM repeats and re-alleges each and every allegation contained in the
foregoing paragraphs and incorporates the same herein by reference, and further alleges
as follows:

2. Pursuant to Title II of the ADA, Defendant is prohibited from failing to make
reasonable modifications to policies, practices, or procedures when such are necessary
to avoid discrimination, unless such criteria can be shown to “fundamentally alter the
nature of the service, program, or activity.” 28 C.F.R. § 35.130(b)(7)(i).

3. Defendant’s refusal to modify its policies, practices, or procedures
prevents JM from non-healthcare employment, outside the police powers of the Board.
The requested modifications by JM, if granted, would not constitute a fundamental

alteration of those services. Voiding an NPDB report for the autistic non-practitioner

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Jonathan Manson would take approximately two minutes; removing the Final Order
summary from Verisys or FACIS III would take approximately fifteen minutes through
website or paper notification. Defendant’s actions result in discrimination based on
JM’s disabilities, in violation of Title II of the ADA and implementing regulations.
Count Two
(Failure to respond to a reasonable accommodation request under Title II of the
Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12131 et seg. (2002),
and Section 504 of the Rehabilitation Act (“Rehabilitation Act’)

1. Plaintiff JM repeats and re-alleges each and every allegation contained in the
foregoing paragraphs and incorporates the same herein by reference, and further alleges
as follows:

2. JM is a qualified person with a disability and is entitled to the protections
afforded by the ADA and Rehabilitation Act as described herein.

3. Defendant by its conduct herein alleged, willfully and without justification
discriminated against JM on the basis of his disability and have deprived JM of his
right to reasonable accommodation under the Rehabilitation Act and ADA Title II.

4. As aresult of denials by the Board and Board Counsel not responding in
February 2020, stating why it is an undue burden to remove the reports on JM, or why
policies and procedures cannot be modified even minimally to accommodate such a
request, and subjecting JM to 22 years of occupational denials, [which included the

listing of a permanent licensure denial on the NPDB report and at other entities when it

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never occurred], JM has suffered anxiety and other distress. Furthermore, such
distress was exacerbated by the Board denying acknowledgment of ASD in refusing to
address an accommodation request at all, and having multiple reports at every JM
training program, the AMA, HHS, NPDB, Verisys and FACIS III, and multiple
background check companies, which have interfered with his ability to obtain
employment at the USAF, in legal positions, in research positions, and in teaching
positions for 22 years.

5. By virtue of their foregoing conduct, defendants have violated ADA Title II
and the Rehabilitation Act and JM is entitled such relief as the Court finds to be
appropriate, including, but not limited to, declaratory relief, injunctive relief,
compensatory damages, punitive damages, and the costs and expenses of this action.

Count Three
(42 U.S.C. § 12203(b) ADA Third Party Interference)

1. Plaintiff JM repeats and re-alleges each and every allegation contained in the
foregoing paragraphs and incorporates the same herein by reference, and further alleges
as follows:

2. The ADA's third party interference provision provides: It shall be unlawful to
coerce, intimidate, threaten, or interfere with any individual in the exercise or
enjoyment of, or on account of his or her having exercised or enjoyed, or on account of
his or her having aided or encouraged any other individual in the exercise or enjoyment

of, any right granted or protected by this chapter.

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3. Use of a purposefully reconstructed harmful narrative in a federal data
bank to punish a citizen with autism/ASD is also not allowed. The punishment is
to ensure that the Board Order has the maximum detrimental effect, as a means of
retaliation after Plaintiff requested that the NPDB report add a fact pattern or be
removed after 21 years.

4. The ADA third party interference theory generally cannot be applied to a
state agency that licenses or certifies individuals to work in a particular profession
under the EEO statues where it is exercising its police power in granting and denying
licenses. However, a licensing agency could be liable under third party interference
when it exercises a function beyond merely its police powers”!. For example,
preventing JM from working in teaching or law nationally due to the Board’s listings
on Verisys, FACIS II and the NPDB/HIPDB merged databank, which are not private,
and accessible by hundreds of background check companies, teaching, law character
committees, most other non-medical professional licensing boards, and thousands of
employers in the US.

5. Autistic JM (1) engaged in activity statutorily protected by the ADA, that
being the right to have a livelihood and self-sufficiency through employment (2) he was
engaged in the exercise of ADA protected rights by attempting to seek employment,
free of a 22-year old Board Order which fails to recognize autism as a causative factor

in JM’s history (3) the Board interfered on account of his protected activity by not

 

71 US EEOC Training and Technical Assistance Program, Preventing Discrimination in the Workplace,
2002

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removing its Order, and intimidated Plaintiff by portraying Plaintiff as a felon [Page
25], even though there was an awareness and knowledge that the presence of this Order
interfered with multiple non-medical licensure opportunities nationally, and it would be
a minimal burden to remove; and (4) the Board was motivated by an intent to
discriminate, by not acknowledging JM’s disorder of ASD and accommodation request,
which only represents a minimal burden, and would not require any significant
modification of the Board’s policies, practices, or procedures. This despite a stated

policy of the Board that the Board supports the Americans with Disabilities Act.

6. The Proper Use of Public Documents in Maryland (only recognized at the
state level) as it relates to ADA Title II, including the Doctrines of (1) the US
Congressionally approved federal right to an accommodation (2) the question of
whether Modifying Policies, Practices or Procedures is an undue burden, and (3) Third
Party Interference

The Board will likely purport that anything can be done with a Public document
Board ruling under state law, such as the Plaintiff Final Order issued in 1998, claiming
absolute or qualified immunity. Absolute or qualified immunity only exists at the state
level, however, and does not supersede the Supremacy Clause or federal rights under
Title II ADA to have an accommodation response or modification of policies and
procedures if not an undue burden. Such immunity is also not an excuse for negligent
Board reporting for 22 years and does not allow for the issuance of accompanying and

supplementary reports which are different from the Final Order.

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As noted above, there was no permanent licensure denial, and Plaintiff is male,
and never wished to be self-identified as anything other than male, though a permanent
denial and unknown gender are listed for 22 years by the Board nationally at ten
different agencies. When Plaintiff requested corrections in 2001, 2011 and 2019, only
in 2019 were any corrections made, and only on the NPDB report. As noted above, the
permanent denial and unknown gender listings were removed from only the NPDB
report, but replaced with a new narrative indicating that Plaintiff has poor moral
character, and a notation that Plaintiff additionally committed heinous acts beyond
having poor moral character. Such references have caused Plaintiff considerable
emotional distress for 22 years, as would be experienced by any autistic individual or
reasonable person in a similar situation, and further substantiated the third party
interference claim.

As noted supra, the Board and Board Counsel Noreen Rubin were made aware of
the ASD disability and both chose to ignore the accommodation request completely in
February 2020, and not state why the request is an undue burden, or why policies and
procedures cannot be modified even minimally to accommodate such a request.
Accommodation requests and disabilities cannot be ignored because the Board chooses
to do so selectively and preferentially, especially when as noted earlier, the Board
states that it supports the ADA on its website and also states so in its state
approved documents. Such statements should apply to all those with disabilities if a

stated policy.

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Portraying Plaintiff as a felon, ignoring autism, pursuing continual admonishment

7. Plaintiff was and is portrayed as a felon by the Board, a portrayal which reaches
most employers nationally and serves as a third party interference, and an action which
has kept Plaintiff from obtaining nonmedical licensure in teaching and law, and a
position in the USAF. Third party interference in teaching and law continues to occur
by the Board, including intimidation, while ignoring Plaintiff’s permanent and
incurable diagnosis of ASD/Autism, ADA Title II rights of receiving a reasonable
accommodation response, and the minimal modification of policies and procedures to
accommodate.

Few autistics are felons nationally”, and the Board cannot imply or equate
autism/ASD with criminally leaning or related conduct, by ignoring an
accommodation request. Despite medical licensure application questions which were
not interpreted correctly due to autism, and all such vague and ambiguous questions
changed after 1999 and never afterward used, the Board:

(1) describes Plaintiff in 2020 through use of statutes which are used to describe those
hiding felonies, serious malpractice cases, drug use or other heinous crimes; Exhibit 7
(2) accuses Plaintiff of committing fraud without a fact pattern being entered nationally
relating to application questions, interpreted by most employers and reasonable persons

reviewing the accusation nationally as criminal fraud

 

 
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(3) accused Plaintiff of monetary fraud by having a returned payment request on the
1995 application

(4) negligently lists a permanent licensure denial, associated with felons, for 22 years
(5) describes Plaintiff as having poor moral character, characteristic of felons

(6) in 2019, when correcting the original 1998 NPDB report, describes Plaintiff as
committing additional heinous acts beyond having poor moral character.

(7) fails to consider any evidence ever submitted by Plaintiff, always deeming it
without merit, materiality, or relevance. When presented, the Board never includes the
evidence in responses, as if autistic Plaintiff is a non-existent entity, as demonstrated by
the handling of the accommodation request.

(8) denied an evidentiary hearing, which never allowed for a mens rea analysis of
autism. Summary judgments are almost never used for autistic or malintent cases.”*
(9) attempted to have HHS debarment sanctions imposed lifelong against Plaintiff, a
lifelong permanent AMA membership ban, and permanent admonishment by Plaintiff’s
medical training programs, by the Board sending the Final Order to such programs
along with derogatory comments about Plaintiff, preventing Plaintiff from ever
obtaining recommendations from such entities.

(10) attempted and is still attempting to impose a permanent national loss of

employment through background check companies which screen applicants for

 

 
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teaching and legal positions (Exhibit 6, showing an example of a Verisys and FACIS II
report provided as part of a background check).

8. Further reasons for the instant filing: Employment statistics nationally are
often dismal for those with ASD. The article notes “‘..adults on the spectrum may be
extremely efficient, trustworthy, reliable, and cost-effective employees. Nevertheless,
fewer than half of young adults with ASD maintain a job. Many businesses are
unwilling to hire these capable candidates, concerned among other things about an
increase in supervision costs and a decrease in productivity. This is a bias based on
misperceptions; the financial and social benefits of hiring adults with ASD, for
businesses and the individual, often outweigh the costs.”

9. At 62 years of age, with autism/ASD, Plaintiff faces age discrimination, and
disability discrimination. Given these considerations, if the Board Order from 1998
continues to occur on nonmedical licensure background checks, Plaintiff will have little

or no opportunity to ever be employed in a nonmedical field requiring licensure.

DECLARATORY RELIEF

1. This action seeks declaratory relief pursuant to 28 U.S.C. § 2201 (2011) for the

purpose of determining a question of actual controversy between Plaintiff and

Defendant.

 

** https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4596848/
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2. Plaintiff, JM., is entitled to a declaratory judgment concerning each of
Defendant’s violations of the ADA, as well as the violations of the Rehabilitation Act
and 42 U.S.C. § 12203(b).

INJUNCTIVE RELIEF

1. This action seeks injunctive relief pursuant to 42 U.S.C. § 12188 and Rule 65 of
the Federal Rules of Civil Procedure.

2. Plaintiff, JM., is entitled to a permanent injunction requiring Defendant to
correct each of their violations of the ADA, Rehabilitation Act, and their implementing
regulations, as such relate to autism, by removing the 22-year old national reports on

Plaintiff in Verisys, many background check companies, FACIS II, and the NPDB.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff JM. requests that the Court:

1. Exercise jurisdiction over this action.

2. Enter a declaratory judgment on behalf of JM., declaring that Defendant’s actions
are in violation of Title II of the ADA, Section 504 of the Rehabilitation Act, and their
implementing regulations.

3. Enter a permanent mandatory injunction ordering Defendant to cease its national
reporting on JM, ordering Defendant to grant JM’s requested modification and to

accommodate JM’s disability by withdrawing the Verisys and NPDB reports on

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Plaintiff.

4. General and special damages against Defendant Maryland Board of Physicians,

as to be determined by the Court, but at least $75,001 for the ADA violations, and
$800,000 for emotional distress caused by the Board over the prior 8 months to 22
years, including the listing of a permanent licensure denial nationally for 22 years when
it never occurred, implying that a heinous act or act of moral turpitude was committed
by Plaintiff, and portraying Plaintiff as a felon nationally, while ignoring his autism and
reasonable accommodation request.

5. Award to JM all costs and fees expended herein and assess all such costs.

6. Grant JM such other and further relief as may be deemed just, equitable and
appropriate by the Court.

RESPECTFULLY SUBMITTED THIS THE 11th Day of November 2020.

Jonathan Manson

6213 N Pascola Circle
Tucson, AZ 85718

jonathanmanson997@gmail.com
520-526-4025

Signed: oust hie a VON es.
Dated: November 11, 2020

 

 

AFFIDAVIT I solemnly affirm under the penalties of perjury that the contents of the
foregoing complaint are true to the best of my knowledge, information, and belief.

Signed: do, te Neco Date: November 11, 2020
Jonathan ‘Manson

6213 N Pascola Circle

Tucson, AZ 85718

City State Zip

jonathanmanson997@gmail.com

 

 

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CERTIFICATE OF SERVICE _ I certify that I served a copy of this Motion upon all
parties to the action and each identifiable person who is the subject of the case by
Fedex, following submission of the Summons for signature to the Clerk’s office, to:

Date submitted to Christine Farrelly: November , 2020
Christine Farrelly

Executive Director

Maryland Board of Physicians

4201 Patterson Ave,
Baltimore, 21215

Person Serving Signature:

 

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